 Case 2:09-cv-00357-JRG Document 89 Filed 02/13/12 Page 1 of 1 PageID #: 281



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

LIGHT TRANSFORMATION
TECHNOLOGIES LLC

v.                                              Civil Action No. 2:09-cv-00357-JRG

ALLIANCE ELECTRONICS
CORPORATION d/b/a KHATOD USA, ET
AL.



               ORDER OF DISMISSAL OF POLYMER OPTICS LIMITED


       CAME BEFORE THE COURT the Agreed Stipulation of Dismissal by Light
     .
Transformation Technologies LLC (“LTT”) and defendant Polymer Optics Limited (“Polymer”).

       In accordance with Rule 41(a)(1)(A)(ii), the Court hereby ORDERS that all claims and

counterclaims by and between LTT and Polymer in this action are hereby dismissed with

prejudice.

       Each party shall bear its own costs and attorneys fees.          The Court shall maintain

jurisdiction to enforce the terms of the parties’ agreement.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 13th day of February, 2012.




                                                               ____________________________________
                                                               RODNEY GILSTRAP
                                                               UNITED STATES DISTRICT JUDGE
